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                 IN THE UNITED STATES DISTRICT COURT

                 CENTRAL DIVISION, DISTRICT OF UTAH



UNITED STATES OF AMERICA,           :     Case No. 2:05-CR-148 TS

                 Plaintiff,         :
                                          REPORT AND RECOMMENDATION
     vs.                            :
                                          JUDGE TED STEWART
ADALBERTO AGUILAR-BANUELOS AND      :
JORGE BANUELOS-MARTINEZ,                  MAGISTRATE JUDGE BROOKE C.
                                          WELLS
                 Defendants.




     This matter is before the Court on Defendants’, Adalberto

Aguilar-Banuelos’s and Jorge Banuelos-Martinez’s, Motion to

Suppress.   Evidence was taken on September 26, 2005.         Both

Defendants were present with counsel.       Mr. Aguilar-Banuelos was

represented by Ronald J. Yengich.       Mr. Banuelos-Martinez was

represented by Mary Corporon.      The Government was represented by

Mark Vincent.
     Following briefing by the parties, final argument on

Defendants’ motion was held on December 13, 2005.1         Based on

issues raised during the final argument, supplemental briefing

was ordered.    The Court has again reviewed the video tape of the


     1
        The Court received the transcript from final arguments on
February 15, 2005 and proceeded to take the motion under
advisement.
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traffic stop as well as the Spanish to English translation of the

audio portion of the video,2 (Exhibits 1 and 1(a)) and carefully

considered the memoranda and other materials submitted by the

parties.    Now being fully advised, the Court enters the following

Report and Recommendation wherein it is recommended Defendants’

Motion to Suppress be denied.



                            I.   BACKGROUND

      On March 1, 2005, at approximately 5:00 p.m., Utah Highway

Patrol (UHP) Trooper Ashton Jeffery (Trooper Jeffery) observed a

black Toyota 4Runner traveling eastbound on I-80 near Wanship in

Summit County, Utah.    The vehicle did not have a front license

plate displayed. (09/26/05 Suppression Hearing Transcript (“Tr.”)

at 7-11).   From the rear plate, Trooper Jeffery observed the car

was registered in California.      (Tr. 8, 10).    Trooper Jeffery

consulted a license plate chart dated 1998 provided by the UHP

and carried in his patrol car.      The chart indicated California

requires a front license plate. (Tr. 8-10, 44-45, 74-75; Exhibit

4).   Trooper Jeffery stopped the vehicle at about mile marker
158, approximately one mile east of Wanship.        (Tr. at 11, 43-44).

During suppression hearing testimony, Trooper Jeffery

      2
        Trooper Jeffery’s patrol car was equipped with a video
camera which began recording when the Deputy activated his
emergency equipment. The video tape of the stop and of
occurrences after the stop was admitted into evidence by
stipulation of the parties prior to the suppression hearings.
(Government Exhibit (“Exhibit”) 1.) The first 11 minutes and 45
seconds of the sound portion of the video were not recorded
because the Trooper neglected to turn on the microphone. (Tr. at
66-68).
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acknowledged he did not know if the two-plate requirement was

current law in California.      (Tr. at 45-47).

     Trooper Jeffery approached the vehicle from the passenger

side.    (Tr. at 11).   He had his right hand on his hip near his

service revolver but never unholstered the firearm.         (Tr. at 52).

As the window was rolled down, the Trooper noted a “strong” and

“overwhelming” odor, like “rotten food” or “body odor” coming

from inside the vehicle.      (Tr. at 12, 53-54).    Based upon his

training and experience, Trooper Jeffery testified he knew strong

odors are used to mask the presence of illegal narcotics.          (Id.)

     Because the driver indicated he did not speak English well,

Trooper Jeffery thereafter spoke with the Defendants in Spanish.3

(Tr. at 13, 48).    The Trooper asked the driver, later identified

as Adalberto Aguilar-Banuelos (Aguilar), for his driver’s

license, vehicle registration and proof of insurance.          (Tr. at

12-14).    Also in the vehicle was a passenger sitting in the right

front seat later identified as Defendant Banuelos-Martinez

(Martinez).    (Tr. at 14).    Defendant Aguilar looked through the

glove box for documents but did not produce any registration
documents or insurance information.       (Tr. at 15).    Defendant

Aguilar stated the car belonged to his uncle Jose Santos in

California.    Neither Defendant produced a driver’s license

     3
          Trooper Jeffery testified to having an extensive
education in the Spanish language and to having lived in a
Spanish speaking country. Defendants did not pose any objections
as to the Trooper’s Spanish language capabilities or to the
introduction of the Spanish to English translation of the
conversations contained in the video of the stop. (Exhibit 1(a)).
(Tr. at 34).
                                    3
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although Aguilar produced a resident alien card. (Tr. at 15, 20,

24).       Defendant Martinez did not have a driver’s license but

produced an identification card of some sort.        (Tr. at 24).

While the Defendants were looking for the requested documents,

Trooper Jeffery saw a large can of air freshener (Exhibit 3)

inside the glove compartment.        (Tr. at 15, 19).   Jeffery

testified air freshener is commonly used to mask the odor of

narcotics.       (Tr. at 20).   Trooper Jeffery also observed a

dashboard flaw consistent with it having been pried open over the

air bag compartment, a spot where narcotics can be concealed.

(Tr. at 14, 15 23-24).       When told he was stopped for not

displaying a front license plate, Defendant Aguilar produced the

vehicle’s second license plate from the back seat of the 4Runner.

(Tr. at 50-51).

       Trooper Jeffery, who testified to having made hundreds of

traffic stops, stated both Defendants were acting “very nervous –

more so than the typical person pulled over”.4 (Id. at 15-18).

The passenger, Defendant Martinez, did not make eye contact with

Trooper Jeffery or participate in the conversations and looked
straight ahead.       (Tr. at 15-18).




       4
          The stationary video camera that captured the stop was
mounted on the dash of the UHP car and looked toward the rear end
of the 4Runner, not into it. The first eleven and one half
minutes of the stop was not audio recorded. Although the
Defendants can be viewed fleeing from the front of the 4Runner,
no conclusion can be reached by the Court as to the state of
nervousness of either Defendant through review of the video/audio
tape.
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     When asked about travel plans, Defendant Aguilar stated they

were coming from Salinas, California and were going to Colorado

for five or six days to visit his mother.        (T. 20-21).    Aguilar

stated they had just left Salt Lake City where they had stayed at

a Motel 8 in the downtown area and had been traveling for about

an hour and a half.    (Tr. at 21, 59, 78. 81).      Trooper Jeffery

found the travel time odd because in his experience it doesn’t

take an hour and a half to get from Salt Lake City to the area of

the stop; rather it takes about 50 minutes.        (Tr. at 22-23, 60).

The Trooper observed no luggage in the vehicle, a fact he found

inconsistent with usual vacation travel.        (Tr. at 23).    Trooper

Jeffery conceded he did not know the locations of Motel 8 or

Super 8 motels in the Salt Lake City area.        (Tr. at 82).

     While the Defendants remained seated in the 4Runner, further

roadside investigation conducted through the police vehicle’s

computer system confirmed the vehicle was registered in

California to Jose Banuelos-Santos.       The California title

reflected the car as “salvaged.” (Tr. at 18, 25-26, 58).          The

4Runner had not been reported as stolen.        (Tr. at 78-79).
Trooper Jeffery testified that salvaged cars are purchased and

restored for use in criminal activity.       (Tr. at 26-27).

     Trooper Jeffery testified neither occupant could be allowed

to drive the 4Runner because neither had a driver’s license.

(Tr. at 25).   Options included issuance of a warning ticket for

not having a front license plate and no driver’s license with

subsequent impound of the car followed by an inventory search.


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(Id. at 25).   The car’s occupants could be driven to the next

town to secure a ride.     It would have been impractical to contact

the owner to pick up the car as the owner was from another state.

(Tr. at 76-77).   At this juncture, the Trooper did not intend to

arrest the occupants.    (Id. at 25).     Needing more information to

complete required paperwork for a warning ticket, Trooper Jeffery

went from his patrol car to the 4Runner, returned both the

driver’s and passenger’s ID cards and requested Defendant Aguilar

return with the Trooper to the patrol car to provide the

necessary additional information.5      (Tr. at 28).    Defendant

Aguilar complied; he was patted down for weapons by the Trooper

and directed to the front seat of the patrol car. (Tr. at 29).

In response to questions posed Defendant Aguilar further detailed

his travel plans and relationship with the passenger.          Aguilar

stated that Martinez was his friend; he then said cousin. (Id.)

The two were going to Fort Collins, Colorado to visit Aguilar’s

mother for five to six days.      Aguilar stated he worked in a

flower shop and Martinez worked in the strawberry fields.           (Tr.

at 29).   During this conversation, Defendant Aguilar asked if he
could put the second license plate on the front of the car.           (Tr.

at 30, 63, 77).

     At this point, Trooper Jeffery suspected possible criminal

activity involving illegal immigrants, the possibility of a

stolen vehicle and drug activity due to the “totality of the


     5
          The record does not reflect what form of ID was given
to the Trooper by Defendant Martinez.
                                    6
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circumstances including the behavior of both subjects,” “their

travel plans, “the many indicators”, the odor, the electrical

tape, the air freshener and the lack of luggage in the car.6

(Tr. at 30-31).   Defendant Aguilar was asked if there were drugs

in the car.    Aguilar responded “no” to questions about the

existence of cocaine and heroin but answered “not in there”

concerning marijuana.     (Tr. at 31-32).    Trooper Jeffery asked

Aguilar for consent to search the 4Runner.        Defendant Aguilar

responded, “Yes, yes.”7    (Tr. at 32, 38, 79).

     Leaving defendant Aguilar in the patrol car, the Trooper

returned to the 4Runner to speak with the passenger, Martinez.

(Tr. at 32-33).   Martinez was advised of Aguilar’s consent to

search the 4Runner and did not object.       (Id.)   Both Defendants

were directed to stand at the front of the 4Runner while Trooper

Jeffery conducted the search.       During the course of the search,

the defendants fled together on foot.       (Tr. at 40-41; Exhibit 1).

They were arrested approximately 30 minutes later by Summit

County Sheriff’s deputies.     (Id. at 40).

     During the roadside search Trooper Jeffery located
approximately two pounds of crystal methamphetamine in a taped

compartment behind the spare tire in the rear of the 4Runner.



     6
          Although the Trooper included reference to “electrical
tape” the record does not reflect he saw electrical tape prior to
beginning the search of the car. (Tr. at 73).
     7
          No audio exists of the conversation related to a
request to search the car as the audio malfunctioned. (Tr. At
79)
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(Tr. at 40).   He also found partially eaten chicken or chicken

bones, cole slaw and individual items of clothing.         (Tr. at 55).

     During an post-arrest interview with Trooper Jeffery,

Defendant Martinez said his name was Jorge Benitez.8 (Tr. at 41).

     After arrest and during individual interviews, each

defendant was advised in Spanish by Utah Department of Public

Safety (DPS) Agent Jeff Plank of his rights pursuant to Miranda.

(Tr. at 83-86).    Presumably, the interviews took place at the

Summit County jail facility.      Defendant Aguilar initially agreed

to speak and told Agent Plank he rented a garage from his aunt in

Salinas, California, the 4Runner belonged to his uncle and he had

taken it without permission and was headed to Ft. Collins.           (Tr.

at 87-88, 90).    Agent Plank acknowledged that in contrast to his

own testimony, his partner’s report (Discovery document Bates

stamped #18) indicated that during the same interview Defendant

Aguilar said he had borrowed the 4Runner from his uncle.          (Tr. at

89-90).   Aguilar further stated he may have touched the drug

packages when changing a flat tire.       When asked why the

Defendants fled, Aguilar stated it was not out of fear of what
would be found in the car as he did not know any illegal drugs

were there.    Rather, they ran out of fear the police would call

“Immigration”.    (Tr. at 87).

     Defendant Martinez identified himself to DPS Agent Plank as

Jorge Banuelos-Benitez.     (Tr. at 88).    Martinez subsequently

     8
          The record does not reflect where this interview with
Trooper Jeffery occurred or whether Martinez was advised of his
Miranda warnings prior to making this statement.
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invoked his Miranda rights and declined to answer questions.

(Tr. at 90).



                            II.   DISCUSSION

     Defendants challenge the initial stop of the 4Runner as

unlawful and their subsequent detention as being without

requisite articulable suspicion that they were engaged in

criminal activity.    They also challenge the search of the 4Runner

as unlawful because it was conducted without a warrant or legal

consent and was the product of the exploitation of prior police

illegality.

     Defendant Martinez moved to suppress all statements made by

him during roadside and jail booking conversations for the reason

that he was not given Miranda warnings prior to being engaged in

conversation by police.9

     The United States concedes defendants each have standing to

challenge the stop of the 4Runner and the subsequent detention

but challenges the standing of each defendant to contest the

subsequent search of the 4Runner.       The United States further
argues valid consent was given for the search.

     a.   Initial Stop

     “A traffic stop is valid under the Fourth Amendment if the

stop is based on an observed traffic violation or if the police

officer has reasonable articulable suspicion that a traffic or


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          Although argued orally, Defendant Martinez’s motion was
not supported by written motion or legal briefing.
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equipment violation has occurred or is occurring.”          United States

v. Botero-Ospina, 71 F.3d 783 (10th Cir. 1995).

     Section 5200 of the California Vehicle Code requires that

“When two license plates are issued by the [Department of Motor

Vehicles] for use upon a vehicle, they shall be attached to the

vehicle for which they were issued, one in the front and the

other in the rear.”     Cal. Vehicle Code § 5200(a)(2000).

(Emphasis added); Exhibit 2 at 2.        Utah, likewise, requires

display of a front and back license plate for the type vehicle in

which Defendants were traveling.         See Utah Code Annotated § 41-

1a-404(1).

     UHP Trooper Jeffery stopped the Defendants’ California

registered 4Runner after observing it traveling without a front

license plate.    Although not personally aware of California’s law

regarding display of license plates, Trooper Jeffery consulted a

chart dated 1998 provided to him by the UHP which indicated

California requires both a front and back license plate displayed

on passenger vehicles.     A second license plate located inside the

4Runner was later shown to the Trooper by Defendant Aguilar.
     Defendants argue Trooper Jeffery’s stop of the 4Runner for

displaying only a back license plate was unlawful because the

Trooper relied on the chart carried in his patrol car and

incorrectly presumed California law required all vehicles to

display two license plates when it does not.10 (Emphasis added).

     10
      California statute does not require the display of two
license plates on some non-passenger vehicles. It is undisputed
that the 4Runner was issued a front license plate.
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However, the Tenth Circuit has specifically ruled lawful the stop

of California registered vehicles that display only one license

plate in apparent violation of California law.         See United States

v. Ramstad, 308 F.3d 1139 (10th Cir. 2002); (looking at both the

California license plate statute and Kansas case law).          See also

United States v. McRae, 81 F.3d 1528 (10th Cir. 1996) (involving

the Utah stop of a California vehicle).        The validity of such a

stop is therefore a matter of settled law and there is no need to

independently analyze the stop as an issue of interstate travel.

Trooper Jeffery’s reliance on the apparent (as well as actual)

violation of California law in failing to display two license

plates was based on reasonable articulable suspicion.

     b.   Detention

     A routine traffic stop is “characterized as an investigative

detention” and a seizure within the meaning of the Fourth

Amendment.    U.S. v. Wood, 106 F.3d 942, 945-946 (10th Cir. 1997).

The reasonableness of an investigative detention is analyzed

under the principles found in Terry v. Ohio, 392 U.S. 1, 19-20

(1968).   A two-part inquiry is required.       First, the Court must
determine “whether the officer’s action was justified at its

inception.”   United States v. Gonzalez-Lerma, 14 F.3d 1479, 1483

(10th Cir. 1994).     Second, the Court considers “whether the

action was reasonably related in scope to the circumstances that

first justified the interference.”       Id.   "An officer conducting a

routine traffic stop may request a driver's license and vehicle

registration, run a computer check, and issue a citation."           Id.


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see also United States v. Lee, 73 F.3d 1034, 1039 (10th Cir.

1996) (“When the driver has produced a valid license he must be

allowed to proceed on his way, without being subject to further

delay by police for additional questioning.”).

     After completing these activities, an officer may detain a

driver for reasons unrelated to the initial traffic stop if (1)

the officer has "an objectively reasonable and articulable

suspicion that illegal activity has occurred or is occurring[,]"

or (2) "if the initial detention has become a consensual

encounter."   See also Terry, 392 U.S. 1 (1968).

     In the instant case, Trooper Jeffery requested the

Defendants’ driver’s licenses, the vehicle registration and proof

of insurance.    No driver’s licenses or vehicle documents were

produced.   A computer check determined the identification and

residence of the registered owner of the vehicle and that the

vehicle had not been reported stolen.         The Court finds these

activities were proper and related to the initial stop.           See

Gonzalez-Lerma, 14 F.3d at 1483.

     The Government cites the following factors in support of
Trooper Jeffery’s reasonable suspicion of criminal activity

warranting continuing detention:         the “extreme” nervousness of

Defendants; the “strong” and “overwhelming” odor coming from

inside the car; the salvaged condition of the 4Runner; the

implausible travel story; and the condition of the dash board

over the air bag compartment.      The government acknowledges none

of these factors taken alone may be enough to justify a


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reasonable suspicion of narcotics smuggling.         It argues, however,

that when looked at “in the totality of the circumstances” as

Trooper Jeffery testified he did, the factors justified the

reasonable suspicion of illegal conduct warranting further

detention.

     The Court considers these factors in the order listed above.

In the final analysis, however, the question is whether taken as

a whole, do the factors support a finding of reasonable

suspicion.   See United States v. Arvizu, 534 U.S. 266, 274

(2002); United States v. Fernandez, 18 F.3d 874, 878 (10th Cir.

1994).   The Court cannot simply employ a divide-and-conquer

strategy in regard to the listed factors.        As the Supreme Court

has admonished, to do so would be legal error.         See Arvizu, 534

U.S. at 274; U.S. v. Santos, 403 F.3d 1120, 1133 (10th Cir.

2005).   Common sense and ordinary human experience are to be

employed, see Untied States v. Melendez-Garcia, 28 F.3d 1046,

1052 (10th Cir. 1994), and deference is to be given for a law

enforcement officer’s ability to distinguish between innocent and

suspicious actions.     See United States v. Lopez-Martinez, 25 F.3d
1481, 1484 (10th Cir. 2004).      However, inchoate suspicions and

unparticularized hunches do not provide reasonable suspicion.

See United States v. Fernandez, 18 F.3d 874, 878 (10th Cir.

1994).   “Some facts must be outrightly dismissed as so innocent

or susceptible to varying interpretations as to be innocuous.”

Lee, 73 F.3d at 1039; Reid v. Georgia, 448 U.S. 438, 441 (1980).

     The factors are:


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     (1).   As discussed above, the Court found the stop of

the 4Runner to be lawful.

     (2).   Extreme and continued nervousness is entitled to

somewhat more weight than the normal nervousness exhibited by

those stopped for a traffic violation.        See U.S. v. West, 219

F.3d 1171, 1179 (10th Cir. 2000).        “Only extraordinary and

prolonged nervousness can weigh significantly in the assessment

of reasonable suspicion.”      Santos, 403 F.3d at 1127.      When viewed

in isolation, the nervousness of Defendants as described by

Trooper Jeffery, although not readily apparent on the video,

would not alone provide the basis for reasonable suspicion.           But,

the Court finds their nervousness as testified to by Trooper

Jeffery to be a factor for consideration in a “totality of the

circumstances” analysis.

     (3).   The smell eminating from the interior of the car was

strong, overwhelming like “B.O.” or rotten food.         Trooper Jeffery

testified use of “overwhelming odors” to mask the scent of

narcotics is a sign of “drug smuggling.”        This includes use of

air fresheners.    A can of air freshener was seen in the glove
compartment while the Defendants searched for documents.            The

origin of the bad odor was never explained.         Defendants argue

existence of the foul odor and air freshener should not raise

suspicion of criminal activity.       They also argue the air

freshener may have been present to cover up the odor of food




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located in the 4Runner during the subsequent search.11         The smell

of masking agents has, however, been recognized as a factor

contributing to reasonable suspicion.        See U.S. v. Sanchez-

Valderuten, 11 F3d 985 (10th Cir. 1993); U.S. v. Stone, 866 F.2d

359 (10th Cir. 1989).    According to the testimony of the Trooper,

each could be a masking agent.      Therefore, the Court finds that

while each smell masking factor standing alone does not establish

reasonable suspicion of criminal activity, each may be considered

individually, in relation to the other and may be weighted with

other factors in a “totality of the circumstances” analysis.

     (4).    Salvaged Condition of the Vehicle.        Trooper Jeffery

testified that based on his training and experience salvaged

vehicles can be used in criminal activity because VIN numbers can

easily be switched and concealed in reconstructed cars and the

value of salvaged cars is less should they be lost to the

criminal enterprise.     The court finds this to be a weak factor

when considered alone but one to be considered in a “totality of

the circumstances” analysis.

     (5).    Implausible Travel Plans.       Trooper Jeffery testified
he was suspicious when Defendant Aguilar said the two had left

Salt Lake City about an hour and a half earlier but were stopped

at a location just 50 minutes from the city.         He testified to

being further suspicious of the two men claiming to be on a 5-6

day vacation despite having no luggage and only a few items of


     11
      This argument doesn’t address why one wouldn’t just throw
out smelly old chicken bones and cole slaw.
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clothing in the rear of the 4Runner.       Unlike U.S. v. Bradford,

423 F.3d 1129, 1157-1158 (10th Cir. 2005), where the court found

travel plans “defied common sense” as a factor contributing to

reasonable articulable suspicion, the travel plans of Aguilar and

Martinez do not defy common sense but do constitute a suspicious

factor to be considered along with other factors.          The Court

finds the lack of luggage but the presence of clothing as only a

weak factor.

     (6).     Condition of the Dash Board.      Near the beginning of

the roadside stop, Trooper Jeffery noticed the damaged condition

of the dash board.    He observed pry marks in an area over the air

bag compartment where the trooper knew drugs could be concealed.

The Court finds this is a suspicious factor to be considered in a

“totality of the circumstances” analysis.

     (7).    Other Details.     Neither Defendant had a valid driver’s

license nor were required vehicle registration and insurance

documents produced.     These are also factors to be considered.

     d.     Totality of the Circumstances

     The decisive question is, whether taken as a whole, do the
factors offered by the Government support a finding of reasonable

suspicion.    See United States v. Arvizu, 534 U.S. 266, 274

(2002); United States v. Fernandez, 18 F.3d 874, 878 (10th Cir.

1994).

      In U.S. v. Santos, the 10th Circuit affirmed the denial of

a motion to suppress despite the presence of only weak indicators

of suspicious behavior.       See 403 F.3d at 1122.


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      The Court gives deference to the training and experience of

Trooper Jeffery.    Based upon the particularized factors present

in this case as viewed from the officer’s perspective, the Court

finds that the factors when taken as a whole support Trooper

Jeffery’s reasonable suspicion of ongoing criminal activity

sufficient to warrant ongoing detention and eventual search of

the vehicle.

                      II.    Search of the Vehicle

     a.   Standing of Defendants to Challenge Vehicle Search

     The United States acknowledges both Defendants Aguilar and

Martinez have standing to contest the traffic stop.          See U.S. v.

Erwin, 875 F.2d 268 (10th ir. 1989).      However, the United States

argues neither defendant has the required standing to contest the

subsequent search of the car in which they were driver and

passenger because neither had a legitimate possessory interest in

the vehicle.

     “Fourth Amendment rights are personal and may not be

asserted vicariously.”      United states v. Hocker, 333 F.3d 1206,

1208 (10th Cir. 2003).      Consequently, in determining if a
particular defendant has standing to challenge a search, the

court must determine whether a defendant has exhibited a

subjective expectation of privacy in the area searched, and

whether society is willing to recognize that expectation as being

objectively reasonable.      United States v. Rascon, 922 F.2d 584,

586 (10th Cir. 1990).




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     A defendant bears the burden of showing he had a “legitimate

possessory interest in or [a] lawful control over the car.”           Id.

at 1209; see also U.S. v. Nicholson, 144 F.3d 632, 636 (10th Cir.

1998); U.S. v. Soto, 988 F.2d 1548 (10th Cir. 1993).         Where the

driver of the vehicle is not the registered owner he bears the

burden of establishing “that he gained possession from the owner

or someone with authority to grant possession.”         Id; see also

U.S. v. Martinez, 983 F.2d 968, 973 (10th Cir. 1992); U.S. v.

Arango, 912 F.2d 441, 444-46 (10th Cir. 1990).        “Where the

defendant offers sufficient evidence indicating that he has

permission of the owner to use the vehicle, the defendant plainly

has a reasonable expectation of privacy in the vehicle an

standing to challenge the search of the vehicle.         United States

v. Rubio-Rivera, 917 F.2d 1271, 1275 (10th Cir. 1990).         A

defendant’s testimony is not required to establish the legality

of possession where an officer testifies as to what a defendant

said and what documentation revealed.        See Soto, 988 F.2d at

1553.   Further, it is not necessary that a defendant provide

documentation establishing he lawfully posses the area searched,
rather he must at least state he gained possession from the owner

or someone with the authority to grant possession.”          See Arango

at 445.

     As argued by the United States, however, fleeing the scene

has been cited as a factor to show a lack of possessory interest

or lawful control over a vehicle–particularly when the individual

flees the scene after being stopped by law enforcement officers.”


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See e.g. U.S. v. Allen, 235 F.3d 482, 489 (10th Cir. 2000)(Mere

presence is not sufficient to show a legitimate possessory

interest or lawful control over a vehicle–particularly when the

individual flees the scene after being stopped by law enforcement

officers).

     Here, Defendant Aguilar argues he has met his burden of

showing a possessory interest and a reasonable expectation of

privacy in the 4Runner.     Aguilar’s family name is Banuelos.        Co-

defendant Martinez also has the family name of Banuelos.           Aguilar

told Agent Jeffery during the initial stop that he had borrowed

the 4Runner from his uncle Jose Santos and was traveling from

Salinas, California.     Aguilar further told Agent Jeffery he was

renting a garage apartment from his aunt in Salina.          A roadside

check of the vehicle’s registration showed Jose Banuelos-Santos

of Salinas, California as the registered owner.          The 4Runner had

not been reported stolen.      During a subsequent police interview,

Defendant Aguilar purportedly told Agent Plank that he had

borrowed the car without his uncle’s permission.         The accuracy of

this statement is challenged, however, by the report of the
agent’s partner which was consistent with Aguilar’s statement the

truck had been taken with permission.        (Emphasis added).      While

it is true that both defendants fled from the front of the

vehicle during the search, a factor to be taken into account,

Aguilar’s statement that they ran from fear of immigration

repercussions is not implausible nor inconsistent with permission

to have the vehicle.     The two were traveling on I-80, the major


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west-to-east route between northern California and northern

Colorado.   For the above-stated reasons, the Court finds

Defendant Aguilar has established standing to challenge the

vehicle search.

     As to Defendant Martinez, the court also finds he has

standing.   While Defendant Martinez did not argue in his brief or

offer legal support for the proposition that he has established

derivative standing through the statements and actions of his co-

defendant Aguilar, the court accepts that because the two were

from the same town in California, were related and shared the

same family name as the owner of the 4Runner who had not reported

the vehicle stolen, Martinez also has an expectation of privacy

in the vehicle which society is willing to recognize and standing

to challenge the subsequent search of the 4Runner.

     b.   Consent to Search the Vehicle

     Defendants argue consent to search the 4Runner given by

Defendant Aguilar was the result of the exploitation of prior

police illegality, the illegal detention.        Because the Court has

found there was no illegal detention, it will not analyze
Aguilar’s consent pursuant to that theory.

     Alternatively, however, “One of the specifically established

exceptions to the requirements of both a warrant and probable

cause is a search that is conducted pursuant to consent.”

Schneckloth v. Bustamonte, 412 U.S. 298, 219 (1973) “Whether a

defendant freely and voluntarily consents to a search is a

question of fact determined from the totality of the


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circumstances.”     United States v. Pena-Sarabia, 197 F.3d 983, 986

(10th Cir. 2002).    The government has the burden to prove a valid

consent to a warrantless search.         United States v. Cody, 7 F.3d

1523, 1526 (10th Cir. 1993).     A two-part test determines whether

consent is given.    The government must first present “clear and

positive testimony that consent was unequivocal and specific and

freely and intelligently given.       Second, the government must show

that the police did not coerce the defendant into granting his

consent.”    United States v. Pena, 143 F.3d 1363, 1365 (10th Cir.

1998); United States v. Zubia-Melendez, 263 F.3d 1155, 1162 (10th

Cir. 2001).

       Here, the Court finds the government has proved Defendant

Aguilar consented to the search of the 4Runner and his consent

was both freely and voluntarily given.        The evidence before the

Court comes both through the testimony of Trooper Jeffery and

review of the video tape.      Both are consistent in that Defendant

Aguilar willingly returned with Trooper Jeffery to the patrol

car.    Although in uniform, Trooper Jeffery never unholstered his

sidearm; the pat down search of Aguilar was conducted
appropriately.    Therefore, any show of authority was not

impermissibly coercive.     The Trooper directed Aguilar to the

passenger seat while taking the driver’s seat himself.          See U.S.

v. Gigley, 213 F.3d 509, 514 (10th Cir. 2000) (defendant seated

in front seat of the patrol car, without more, does not make

consent involuntary).     Defendant Aguilar answered “yes, yes” when

asked in Spanish for permission to search the 4Runner.          When told


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of Aguilar’ consent to search the vehicle, Defendant Martinez

offered no objection.     Rather, both defendants eventually fled.

     There is no evidence before the Court that Aguilar’s consent

to search was anything but freely and voluntarily given.

     c.   Inevitible Discovery of Drugs during Inventory Search

     “The inevitable discovery doctrine provides an exception to

the exclusionary rule . . . and permits evidence to be included

‘if an independent, lawful police investigation would have

inevitably discovered it.’” U.S. v. Cunningham, 413 F.3d 1149,

1203 (10th Cir. 2005).    “The government possesses the burden of

proving by a preponderance of the evidence that the evidence at

issue would have been discovered without the Fourth Amendment

violation.”   Id. (citing U.S. v. Souza, 223 F.3d 1197 (10th Cir.

2003)).   Consequently, if evidence seized unlawfully would have

been inevitably discovered in a subsequent inventory search such

evidence would be admissible.”      U.S. v. Ibarra, 955 F.2d 1405,

1410 (10th Cir. 1992).

     The government argues that even assuming arguendo that the

search of the car was illegal, the drugs would have inevitably
been discovered during an inventory search.         Defendants counter

that because the drugs were located in a compartment secreted

behind the spare tire they would not have been found during the

confines of a properly conducted inventory search.          The Court

agrees with the United States.

     Trooper Jeffery lawfully stopped the defendants for driving

without a front license plate.      It was subsequently determined


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neither defendant possessed a valid driver’s license.          Neither

would have been allowed to drive the vehicle away.          The

registered owner was from out of state and could not have been

immediately available to pick up the 4Runner.         Under these

circumstances, and regardless of whether consent had been given

to search, the vehicle would have been impounded and an inventory

search conducted.    Contrary to Defendants’ argument, electrical

duct tape coming from the secreted area containing drugs was seen

from inside the rear portion of the vehicle by the Trooper.           (Tr.

at 73).   The Court finds the government has proved by a

preponderance of the evidence the illegal narcotics would have

been inevitably found in the car through the UHP inventory

search.



            III.   ADMISSIBILITY OF MARTINEZ’ STATEMENTS

     At the time of the Suppression Hearing, Defendant Martinez

orally asserted all statements made by him should be suppressed

as having been elicited without having been given Miranda

warnings.   This included giving his name and other identifying
information at the time of the initial traffic stop and at the

Summit County Jail during the booking process.         Martinez did not,

however, submit any written or oral legal argument or support for

this particular position and it is therefore deemed abandoned.

The record does not reflect that defendant Aguilar joined in this

motion.




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     Rather, as the record clearly reflects, defendant Martinez

was interviewed by DPS Agent Plank who is fluent in Spanish.

(Tr. at 84).   Agent Plank testified to fully advising Martinez of

his constitutional rights pursuant to Miranda in anticipation of

questioning about the drugs located in the 4Runner.          Martinez

declined to be interviewed and his interview was terminated.

     Based upon the evidence before it, the Court finds Defendant

Martinez (as well as Defendant Aguilar) was fully advised of his

constitutional rights per Miranda and any statements made by him

are not subject to suppression.

                          IV.   RECOMMENDATION

     Based on the foregoing, the Court HEREBY RECOMMENDS that

Defendants’ Motion to Suppress be DENIED.

     Copies of the foregoing report and recommendation are being

mailed to all parties who are hereby notified of their right to

object.   The parties must file any objection to the Report and

Recommendation within ten days after receiving it.          Failure to

object may constitute a waiver of objections upon subsequent

review.
     DATED this    14th   day of March, 2006.



                                  BY THE COURT:




                                  BROOKE C. WELLS
                                  United States Magistrate Judge




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